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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS

  DAVID E. MACK,                          )
                                          )
                   Plaintiff,             )
                                          )   Civil Case No.
  v.                                      )   4:18-cv-00006-ALM-CAN
                                          )
  EXPERIAN INFORMATION SOLUTIONS,         )
  INC., et al.                            )
                                          )
                   Defendants.            )




   DEFENDANT EQUIFAX INC.’S MOTION FOR JUDGMENT ON THE PLEADINGS
                AND BRIEF IN SUPPORT OF THE MOTION




                                     Kendall W. Carter
                                     Texas Bar No. 24091777
                                     kcarter@kslaw.com
                                     1180 Peachtree Street NE
                                     Atlanta, GA 30309
                                     Tel (404) 572-2459

                                     Counsel for Equifax Inc.
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         Defendant, Equifax Inc. (“Equifax”), by Counsel, pursuant to Federal Rule of Civil

  Procedure 12(c), moves that the Court grant judgment on the pleadings and dismiss Plaintiff David

  Mack’s Original Complaint for Violations of the FCRA with prejudice. Pursuant to Local Rule CV

  7(c), Equifax submits the following brief in support of the motion and attached exhibits.

                                          INTRODUCTION

         This is a case under the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681-1681x.

  On or about January 3, 2018, pro se Plaintiff David Mack filed his Original Complaint for

  Violations of the FCRA (“Complaint”) against Equifax Inc. (Complaint, Doc. 1). Mr. Mack alleges

  that Equifax Inc. violated § 1681g the FCRA. (Id. ¶ 42). Specifically, Mr. Mack alleges he made

  two written requests to Equifax Inc. for his “full consumer file disclosure.” (Id. ¶¶ 11, 17). Both

  letters are addressed ambiguously to “Equifax” without further appellation:

         Equifax
         P.O. Box 740241
         Atlanta, GA 30374-0241

  (Doc. 1-2 at 3; Doc. 1-3 at 3). The address for Equifax Information Services LLC is

         Equifax Information Services LLC
         P.O. Box 740241
         Atlanta, GA 30374-0241

  https://www.equifax.com/personal/contact-us/ (Click on: To request a copy of your credit

  report). Mr. Mack further alleges that in response to the first request, “Plaintiff received a letter

  from Equifax Information Services LLC” that was “not responsive to his request.” (Id. ¶ 12).

  Exhibit 3 confirms that Equifax Information Services LLC, not Equifax Inc., responded to his

  request. (Doc. 1-4 at 2). In response to the second request, Mr. Mack alleges that “Equifax Inc.”

  sent, and he received, his “credit file.” (Id. ¶ 20). However, Mr. Mack did not attach a copy of his

  consumer disclosure; it would have revealed that it was provided by Equifax Information

  Services LLC, not Equifax Inc. Mr. Mack seeks statutory damages of $1,000, attorney’s fees and


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  costs pursuant to § 1681n of the FCRA. (Id. at 7). He does not allege or seek any actual damages.

  (Id.).

           In its Amended Answer, Equifax Inc. affirmatively and repeatedly offers facts explaining

  that it is not a consumer reporting agency:

                                          FIRST DEFENSE

                   Equifax Inc. is not a proper party to this action. Equifax Inc. does not
           maintain a database of consumer credit information, does not handle consumer
           credit files or issue consumer credit reports, and does not investigate consumer
           disputes.

                                          SECOND DEFENSE

                   Equifax Inc. is not a consumer reporting agency as defined by the FCRA.
           Equifax Inc. does not maintain a database of consumer credit information, does
           not handle consumer credit files or issue consumer credit reports, and does not
           investigate consumer disputes.

  (Doc. 19 at 6).

           Equifax Inc. moves this Court to grant judgment on the pleadings and dismiss the

  Complaint pursuant to Federal Rule of Civil Procedure 12(c) for two independently sufficient

  reasons. First, Mr. Mack sued the wrong party. Equifax Inc. is not a consumer reporting agency.

  Equifax Information Services LLC is a consumer reporting agency, and it is the party that

  responded to Mr. Mack’s two written requests. Second, Mr. Mack fails to allege facts sufficient to

  support a claim for relief. He repeats the statutory language and offers merely speculative and

  conclusory allegations that he received a “credit report” when he requested a “full consumer file

  disclosure.” Mr. Mack’s allegations do not adequately state a claim and fail to provide Equifax Inc.

  with adequate notice of the basis of the claims asserted against it. For the same reason, Equifax

  Information Services LLC would be entitled to dismissal if it was named as a defendant; thus,

  amendment of the Complaint is futile.




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                                     STANDARD OF REVIEW

         Equifax moves for dismissal under Rule 12(c) of the Federal Rules of Civil Procedure. A

  Rule 12(c) motion is appropriate for review if material facts are not in dispute, but questions of law

  remain. See Hebert Abstract Co. v. Touchstone Properties, Ltd., 914 F.2d 74, 76 (5th Cir.1990)

  (citing 5A Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure § 1367 at 510).

  The standard for deciding a Rule 12(c) motion for judgment on the pleadings is the same as that

  applied under a Rule 12(b)(6) motion to dismiss. Ackerson v. Bean Dredging, LLC, 589 F.3d 196,

  209 (5th Cir. 2009); Guidry v. American Public Life Ins. Co., 512 F.3d 177, 180 (5th Cir. 2007). In

  examining a motion for judgment on the pleadings, therefore, the court must accept as true all well-

  pleaded facts contained in the plaintiff’s complaint and view them in the light most favorable to the

  plaintiff. Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).

         Although detailed factual allegations are not required, a plaintiff must provide the grounds

  of his entitlement to relief beyond mere “labels and conclusions,” and “a formulaic recitation of the

  elements of a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

  (2007). The complaint must be factually suggestive, so as to “raise a right to relief above the

  speculative level” and into the “realm of plausible liability.” Id. at 555, 557 n.5. “To survive a

  motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a

  claim to relief that is plausible on its face.’ “ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

  Twombly, 550 U.S. at 570). Threadbare recitals of the elements of a cause of action, supported by

  mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Accordingly, “conclusory

  allegations, unwarranted deductions of facts or legal conclusions masquerading as facts will not

  prevent dismissal.” Oxford Asset Mgmt. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).




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          “In Iqbal, the Supreme Court established a two-step approach for assessing the sufficiency

  of a complaint in the context of a Rule 12(b)(6) motion.” Estate of Montana Lance v. Lewisville

  Indep. Sch. Dist., No. 4:11-CV-00032, 2012 WL 12876847, at *1–2 (E.D. Tex. May 4, 2012),

  report and recommendation adopted sub nom. Estate of Lance ex rel. Lance v. Kyer, No. 4:11-CV-

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  Indep. Sch. Dist., 743 F.3d 982 (5th Cir. 2014). First, the Court identifies conclusory allegations

  and proceeds to disregard them, for they are “not entitled to the assumption of truth.” Id. (quoting

  Iqbal, 129 S.Ct. at 1951). Second, the Court “consider[s] the factual allegations in [the complaint]

  to determine if they plausibly suggest an entitlement to relief.” Id.

          The Court may consider documents attached to a motion to dismiss if the documents are

  referred to in the plaintiff’s complaint and are central to the plaintiff’s claims. Scanlan v. Texas A

  & M Univ., 343 F.3d 533, 536 (5th Cir. 2003) (citing Collins v. Morgan Stanley Dean Witter, 224

  F.3d 496, 498–99 (5th Cir. 2000)); see also Causey v. Sewell Cadillac–Chevrolet, 394 F.3d 285,

  288 (5th Cir. 2004); Mack v. Midland Credit Mgmt., Inc., No. 4:14CV265, 2015 WL 140034, at

  *2–3 (E.D. Tex. Jan. 7, 2015).

                                              ARGUMENT

  I.      Equifax Inc. Is Not a Consumer Reporting Agency.

          A “consumer reporting agency” or “CRA” is defined by the FCRA, 15 U.S.C. § 1681a(f)

  as:

                  any person which, for monetary fees … regularly engages in whole
                  or in part in the practice of assembling or evaluating consumer
                  credit information or other information on consumers for the
                  purpose of furnishing consumer reports to third parties.

          The term “consumer report” is defined by 15 U.S.C. § 1681a(d) as:

                  The term “consumer report” means any written, oral, or other
                  communication of any information by a consumer reporting


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                 agency bearing on a consumer’s credit worthiness, credit standing,
                 credit capacity, character, general reputation, personal
                 characteristics, or mode of living which is used or expected to be
                 used or collected in whole or in part for the purpose of serving as a
                 factor in establishing the consumer’s eligibility for (A) credit or
                 insurance … . (Emphasis added.)

  Therefore, in order to be held liable under the FCRA, a defendant must be a “consumer reporting

  agency” that prepared a “consumer report” concerning the plaintiff.

         Equifax Inc. is not a consumer reporting agency; therefore, federal courts consistently

  dismiss Equifax Inc. in FCRA lawsuits filed by consumers based on allegations similar to those

  made by Mr. Mack here. Federal courts consistently have held that, based on the plain language of

  the FCRA, plaintiffs cannot maintain FCRA claims against Equifax Inc., and that Equifax Inc. may

  not be held liable under the FCRA for actions taken by its subsidiaries. See e.g., Greear v. Equifax,

  Inc., No. 13-11896, 2014 WL 1378777, at *1 (E.D. Mich. Apr. 8, 2014) (dismissing plaintiff’s

  claims because “Defendant Equifax, Inc., is not a consumer reporting agency subject to the

  requirements of the FCRA. Plaintiff cannot, as a matter of law, state a claim against Equifax, Inc.,

  under the FCRA.”). The District Court for the Eastern District of North Carolina stated as follows:

         (“[P]laintiff has simply sued the wrong party; . . . [Equifax Inc.,] which is
         incorporated and headquartered in Georgia, is a holding company with no source
         of income other than what it obtains from its ownership interests in subsidiaries
         and affiliates. It has not been in the business of assembling or evaluating
         consumer credit information since 1977. Thus, insofar as plaintiff has alleged a
         claim against defendant for violating the FCRA, summary judgment for defendant
         is appropriate where it is not a CRA and not subject to the requirements of the
         FCRA.

  Channing v. Equifax, Inc., ., No. 5:11-CV-293-FL, 2013 WL 593942, at * 2 (E.D.N.C. Feb. 15,

  2013) (citations omitted.)

         In Slice v. Choicedata Consumer Servs., Inc., No. 3:04-CV-428, 2005 WL 2030690, at *3

  (E.D. Tenn. Aug. 23, 2005), after considering the plain language of the FCRA and the undisputed




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  Certification of Equifax Inc.’s employee, the court held that Equifax Inc. was not a “consumer

  reporting agency.” 2005 WL 2030690, *3. The court explained that in order for a plaintiff to state a

  claim under the FCRA, a defendant must fall into one of three groups: (1) a consumer reporting

  agency; (2) a user of consumer reports; or (3) a furnisher of information to consumer reporting

  agencies. Id. The court dismissed Equifax Inc. holding that a violation of the provisions of the

  FCRA “necessarily must be committed by a “consumer reporting agency.” Id. The Court also held

  that Equifax Inc. did not violate the FCRA because it is not a consumer reporting agency. Id.

         The Greear, Channing, and Slice decisions are three in an unbroken line of decisions from

  district courts dismissing Equifax Inc. under circumstances similar to those presented here. See

  Ransom v. Equifax Inc., No. 09-80280-CIV, 2010 WL 1258084, *3 (S.D. Fla. Mar. 30, 2010)

  (dismissing Equifax Inc. because “[b]ased on this record, the Court concludes, as a matter of law,

  that Equifax, Inc. has not violated the FCRA because it is not a consumer reporting agency and has

  not prepared a consumer report for [plaintiff].”); Frihat v. Citimortgage, Inc., No. 07-CV-946,

  Doc. 60 at 4-5 (W.D. Mo. Dec. 1, 2009) (dismissing Equifax Inc. and citing cases for the

  proposition that “it [is] not a consumer reporting agency for purposes of the FCRA”) (attached as

  Exhibit 1). See also McDonald v. Equifax, Inc. et al., Civil Action No. 3:15-cv-3212-B (N.D. Tex.

  Mar. 6, 2017) (dismissing Equifax Inc.) (attached as Exhibit 2); Persson v. Equifax Inc., No. 7:02-

  CV-511, Doc. 80 (W.D. Va. Oct. 28, 2002) (same) (attached as Exhibit 3); Weiler v. Equifax Inc.,

  No. 2:99-CV-936, Doc. 29 at 2-4 (W.D. Pa. Nov. 16, 2000) (same) (attached as Exhibit 4).

         “It is a general principle of corporate law deeply ingrained in our economic and legal

  systems that a parent corporation (so-called because of control through ownership of another

  corporation's stock) is not liable for the acts of its subsidiaries.” Channing, 2013 WL 593942, at *3




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  (quoting United States v.. Bestfoods, 524 U.S. 51, 61 (1998) (quotations omitted)). Accordingly,

  the Court should dismiss Mr. Mack’s claims.

            Dismissal is warranted here just as it was in Greear, Channing, Slice, Ransom, Frihat,

  McDonald, Persson, and Weiler. The issues are virtually identical. Equifax Inc. is not a consumer

  reporting agency and, therefore, is not subject to the FCRA and cannot be held liable under the

  FCRA. There is no reason for this Court to deviate from this strong and unbroken line of authority.

  II.       Mr. Mack’s Complaint Fails to Plead Facts Sufficient to Support a Claim for Relief
            Pursuant to § 1681g.

            Mr. Mack’s Complaint is also subject to dismissal under Rule 12(c) because it fails to state

  facts sufficient to support a claim for relief under the FCRA. Mr. Mack alleges that “Equifax failed

  to comply with Plaintiff’s multiple requests for a full consumer file disclosure pursuant to 15

  U.S.C. § 1681g(a)(1).” (See Doc. 1 ¶ 42). Section 1681g(a)(1) of the FCRA states that, upon

  request, a consumer reporting agency shall disclose “[a]ll information in the consumer’s file at the

  time of the request, except that – (A) if the consumer . . . requests that that the first five digits of the

  social security number [be truncated, the consumer reporting agency shall do so], and (B) nothing

  in this paragraph shall be construed to require a consumer reporting agency to disclose to a

  consumer any information concerning credit scores or any other risk scores or predictors relating

  to the consumer.” 15 U.S.C. § 1681g(a)(1). To prevail on a claim based on § 1681g(a)(1), then, a

  plaintiff must adequately plead that the consumer reporting agency failed to provide the consumer

  with the consumer file. Here, Mr. Mack merely recites in conclusory fashion that he did not receive

  a full consumer file disclosure at the same time admitting Equifax 1 timely responded and produced

  a “credit report.” (See Doc. 1 ¶¶ 19, 42). Mr. Mack’s averments are insufficient.



        1
     As set forth in Argument section I, Equifax Inc. is not a CRA. Equifax Information Services
  LLC is a CRA, and it is the entity that responded to Mr. Mack’s two written requests. (Complaint

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         A.      “Consumer file” is defined as the information contained in a consumer’s
                 credit report/disclosure.

         The Federal Trade Commission (“FTC”) 2 interpreted the term “file” in 1681g to be limited

  to material included in a consumer report that would be sent to a third party. See 40 Years

  Commentary, p. 71. “[A]ncillary records” such as “a CRA’s audit trail of changes it makes in the

  consumer’s file, billing records, or the contents of a consumer relations folder, are not included in

  the term ‘information in the consumer’s file.’” Id. The Seventh Circuit in Gillespie v. Trans Union

  Corp. held that “file” meant information contained in a consumer report produced by the CRA. See

  482 F.3d 907, 908-10 (7th Cir. 2007). Gillespie cites the FTC’s commentary on §1681g(a)(1)

  regarding the limited scope of the term “file”: “[t]he term ‘file’ denotes all information on the

  consumer that is recorded and retained by a consumer reporting agency that might be furnished, or

  has been furnished, in a consumer report on that consumer.” Id. at 909 (quoting 16 C.F.R. pt. 600,

  app. § 603). “Congress, it seems, chose to limit the right to contest information to material actually

  contained in consumer reports. And of course it was free to draw the line as it did.” Gillespie, 482

  F.3d at 910 (emphasis added). Mr. Mack alleges “Defendants have far more information relating to


  Exhibit 4, Doc. 1-4). For purposes of Argument section II, Equifax Information Services LLC
  will be referred to as Equifax.

     Equifax Information Services LLC would be entitled to dismissal if it were named as a
  defendant because, as set forth in Argument section II, there was no violation of § 1681g of the
  FCRA. Thus, amendment of the Complaint is futile.
     2
       The interpretation and enforcement of the FCRA transferred from the FTC to Consumer
  Financial Protection Bureau (“CFPB”) after passage of the Consumer Financial Protection Act of
  2010. In preparation for the transition, in July 2011, the FTC published “40 Years of Experience
  with the Fair Credit Reporting Act – An FTC Staff Report with Summary of Interpretations”
  (“40                 Years                Commentary”)                 (available             at
  https://www.ftc.gov/sites/default/files/documents/reports/40-years-experience-fair-credit-
  reporting-act-ftc-staff-report-summary-interpretations/110720fcrareport.pdf). The CFPB has not
  issued any contrary interpretation and has cited the 40 Years Commentary in amicus briefs on
  other topics. See Moran v. The Screening Pros, LLC, 9th Cir. Cause No. 12-57246 10/4/13, Dkt.
  22.

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  Plaintiff in their files and databases including archived information.” (Doc. 1 ¶ 25). Mr. Mack

  offers no factual enhancements to support his speculative conclusory statement. Nonetheless, to the

  extent such archived information exists, it is not part of the file to be produced under §1681g as

  interpreted by the FTC and courts.

         B.      Plaintiff admits he received a copy of his credit report/disclosure from
                 Equifax.

         Mr. Mack misunderstands how a “consumer report” is different from a consumer

  disclosure or credit file. See Wantz v. Experian Info. Solutions, 386 F.3d 829, 834 (7th Cir. 2004);

  Pettway v. Equifax Info. Servs., LLC, No. CIV.A. 08-0618-KD-M, 2010 WL 653708, at *7 (S.D.

  Ala. Feb. 17, 2010). “Consumer reports” are generated by a CRA and delivered to a third party for

  use in deciding whether the consumer is eligible for credit or for other purposes. Pettway, at *7

  (citing 15§ 1681a(d)). In contrast, a “consumer disclosure” or “consumer file” is a CRA’s file that

  is provided to the consumer, not to third parties, that contains information about the consumer

  recorded and retained by the CRA. Id. (citations omitted). In other words, there cannot be a

  consumer report without delivery to a third party.

         Mr. Mack’s sole allegation against Equifax is that he did not receive his “full consumer file

  disclosure” as requested. (See Doc. 1 ¶¶ 11-12, 17, 20). Mr. Mack states that he sent Equifax a

  request for his full consumer file disclosure, and in response received a copy of his “credit report.”

  (Id. at ¶¶ 17, 20). He does not dispute that he received this document upon his request, as

  required by § 1681g. As defined by case law discussed above, a credit report goes to a third party.

  Because Mr. Mack, the consumer, was the recipient, what he received was exactly what he

  requested – a full consumer file disclosure.

         Thus, by Mr. Mack’s own admission, Equifax complied with § 1681g(a)(1) and relevant

  federal case precedent by providing his consumer disclosure to her. Accordingly, Mr. Mack has



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  failed to allege sufficient facts to support a cause of action against Equifax under the FCRA, and

  the Court should grant judgment on the pleadings and dismiss his claim under Rule 12(c).

          C.     Mr. Mack provides no factual basis for his assertion that the “credit report”
                 he received was not his “full consumer file disclosure.”

          Notably absent from Mr. Mack’s Complaint is any factual enhancement that specific

  information that should have been in the disclosure was missing. Instead, he offers speculative

  conclusions with no factual basis that information has been excluded from his consumer file. He

  acknowledges the speculative nature of his statements by stating that “one can only surmise.” (See

  Doc. ¶ 28). He assumes that such information includes the following categories:

      •    “additional information never seen by him that is provided to prospective creditors,
           insurers or employers who request information on Plaintiff” (id. ¶ 22);

      •    “negative codes among other things that are provided to prospective creditors, insurers or
           employers” (id. ¶ 23); and

      •    “far more information relating to Plaintiff in [Defendants’] files and databases including
           archived information.” (id. ¶ 25).

          Specifically, he alleges “[u]pon information and belief” that these types of information are

  missing from his disclosure. (Id. ¶¶ 22, 23, and 25). Since the decision of Twombly and Iqbal,

  various district courts have stated that a plaintiff may plead facts “upon information and belief”

  when facts about the fraud are “peculiarly within the perpetrator's knowledge.” United States ex

  rel. Doe v. Dow Chem. Co., 343 F.3d 325, 330 (5th Cir. 2003); United States ex rel. Willard v.

  Humana Health Plan of Texas, Inc., 336 F.3d 375, 385 (5th Cir. 2003); see also United States ex

  rel. Williams v. Bell Helicopter Textron, Inc., 417 F.3d 450, 454 (5th Cir. 2005). However, this

  exception “must not be mistaken for license to base claims of fraud on speculation and conclusory

  allegations.” Willard, 336 F.3d at 385. “Even where allegations are based on information and

  belief, the complaint must set forth a factual basis for such belief.” Id. The rationale for reducing




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  the pleading burden when information is in the defendant's possession appears to spring from the

  fact that an adverse party would not willingly divulge incriminating information. Lawrence v.

  Richman Group of Conn., LLC, 2004 WL 2377140, at *4–5 (D. Conn. Sept. 30, 2004). Where the

  information needed to fill out the complaint is in the hands of third parties, rather than defendants,

  this rationale for reducing the pleading burden does not apply. United States ex re. Rafizadeh v.

  Cont'l Common Inc., 553 F.3d 869, 873 n. 6 (5th Cir. 2008).

         Here, the Complaint contains mere conclusory statements and provides no factual basis for

  the assertion that any specific information has been withheld from the document he admits

  receiving. Mr. Mack’s Complaint should be dismissed because he has alleged no facts sufficient to

  support any recognizable cause of action under § 1681g.

                                            CONCLUSION

         Defendant Equifax respectfully requests that this Honorable Court grant judgment on the

  pleadings and dismiss Mr. Mack’s Complaint pursuant to Rule 12(c) and for such other relief as

  the Court deems necessary.

  Dated: March 15, 2018                                 Respectfully submitted,

                                                         KING & SPALDING LLP

                                                         /s/ Kendall W. Carter
                                                         Kendall W. Carter
                                                         Texas Bar No. 24091777
                                                         kcarter@kslaw.com
                                                         1180 Peachtree Street NE
                                                         Atlanta, GA 30309
                                                         Tel (404) 572-2459
                                                         Counsel for Equifax Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that I have this 15th day of March, 2018 electronically filed a true and

  correct copy of the foregoing via the CM-ECF system to the following counsel of record:

  Autumn Hamit Patterson                          Kristin Lee Marker
  Richard J Johnson                               Strasburger & Price, LLP
  Jones Day - Dallas                              2600 Dallas Parkway
  2727 North Harwood Street                       Suite 600
  Dallas, TX 75201-1515                           Frisco, TX 75034
  Email: ahpatterson@jonesday.com                 Email: kristin.marker@strasburger.com
  Email: jjohnson@jonesday.com                    Counsel for Trans Union LLC
  Counsel for Experian Information Solutions,
  Inc.

  And via U.S. Mail to:

  David E Mack
  7720 McCallum Blvd No. 2099
  Dallas, TX 75252


                                                     /s/ Kendall W. Carter
                                                     Kendall W. Carter




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